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IN RE SEPTEMBER 11 LITIGATION 21 MC 97 (AKH)

21 MC 101 (AKH)

: This document relates to:
IN RE SEPTEMBER 11 PROPERTY DAMAGE _: ALL ACTIONS
AND BUSINESS LOSS LITIGATION

STIPULATED PROTECTIVE ORDER GOVERNING ACCESS TO, HANDLING OF,
AND DISPOSITION OF POTENTIAL SENSITIVE SECURITY INFORMATION

In accordance with Section 525(d) of the Department of Homeland Security
Appropriations Act, 2007, Public Law No. 109-295, 120 Stat. 1355 (the “Act”), and Federal Rule
of Civil Procedure 26, the Court hereby enters this Stipulated Protective Order Governing Access
to, Handling of, and Disposition of Potential Sensitive Security Information (the “Order”)
exchanged in discovery in the above-captioned matters (the “Litigation’”).

A. Preliminary Matters
1. Application.
1.1. This Order shall govern any document, information or other material that
potentially contains “Sensitive Security Information” as defined herein.
2. Definitions.
2.1. Aviation Defendants. The term “Aviation Defendants” shall mean those
defendants in the Litigation that are represented by the Aviation Defendants’ Executive

Committee, as set forth in this Court’s Order Creating Property Damage Track and Reorganizing

Committees, dated March 2005.
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2.2. Cross-Claim Plaintiffs. The term “Cross-Claim Plaintiffs” shall mean
ground defendants in this Litigation who have, at any time, filed cross-claims or third-party
complaints (including, but not limited to, claims for contribution and indemnification) that are
pending against an Aviation Defendant.

2.3. Deemed Covered Person. The term “Deemed Covered Person” shall refer
to any individual whom TSA has cleared for access to Sensitive Security Information pursuant to
Section 5 of this Order.

2.4. Documents. The term “Documents” shall] include, but is not limited to, all
written or printed matter of any kind, formal or informal, including originals, conforming and
non-conforming copies (whether different from the original by reason of notation made on such
copies or otherwise). The term further includes, but is not limited to, the following:

a. papers, correspondence, memoranda, notes, letters, reports, summaries,
photographs, maps, charts, graphs, inter-office and intra-office communications, notations of any
sort concerning conversations, meetings, or other communications, bulletins, teletypes,
telegrams, telefacsimiles, invoices, worksheets, and drafts, alterations, modifications, changes
and amendments of any kind to the foregoing;

b. graphic or oral records or representations of any kind, including, but
not limited to, photographs, charts, graphs, microfiche, microfilm, videotapes, sound recordings
of any kind, and motion pictures,

c. electronic, mechanical or electric records of any kind, including, but
not limited to, tapes, cassettes, disks, recordings, electronic mail, films, typewriter ribbons, word

processing or other computer tapes or disks, and all manner of electronic data processing storage.
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2.5. Parties. The terms “Party” and “Parties” refer to the parties to the
Litigation and their counsel, excluding TSA, as well as any and all future parties to the
Litigation.

2.6. Plaintiffs. The term “Plaintiffs” means collectively the personal
injury/wrongful death plaintiffs in 21 MC 97 and the property damage/business loss plaintiffs in
21 MC 101.

2.7. Reading Room. The term “Reading Room” shall mean the restricted and
secured area maintained by TSA or the Department of Justice (“DOJ”) at 26 Federal Plaza,
Room 2940, New York, New York.

2.8. Reading Room Counsel. The term “Reading Room Counsel!” shall mean
that subset of Deemed Covered Persons described in section 5.3 of this Order.

2.9. Reading Room Document. The term “Reading Room Document” shall
mean any Document that TSA has designated for inclusion in the Reading Room.

2.10. Sensitive Security Information. The term “Sensitive Security
Information” shall have the meaning set forth in 49 U.S.C. § 114(s)(1)(C), 49 C.F.R. § 1520.1 et
seq., and as designated in orders issued by TSA pursuant to 49 U.S.C. § 114(s).

B. TSA’s Preliminary Review of Documents
3. Scope of Material Protected by this Order.

3.1. All Documents sought to be produced in connection with this litigation
that contain, or that the producing party has reason to believe contain, Sensitive Security
Information, shall first be submitted to TSA for review, with an accompanying index of the
submitted Documents, as required under 49 C.F.R. § 1520.9(a)(3). The indices of the

Documents submitted shall be provided to all signatories to this Order by the producing party.
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3.2. This Order shall apply not only to Documents potentially containing
Sensitive Security Information that are produced by the Parties, but also to documents produced
by non-parties who are covered persons pursuant to 49 C.F.R. § 1520.7 and documents produced
by government agencies. Any Party serving a subpoena or other document request upon a non-
party that is a covered person pursuant to 49 C.F.R. § 1520.7 or a government agency shall serve
a copy of this Order along with the subpoena or other document request.

3.3. TSA shall conduct and use its best efforts to promptly complete a
preliminary review to determine if any particular submitted Document contains Sensitive
Security Information. Upon completion of this preliminary review, to the extent that a
Document does not contain Sensitive Security Information, TSA shall release or authorize the
release of the Document and the Document shall no longer be subject to this Order. Information
that TSA has determined does not constitute Sensitive Security Information may be used and
disclosed in any manner consistent with the disclosure of non-Sensitive Security Information
documents exchanged in discovery in this litigation.

3.4. Upon completion of this preliminary review, to the extent that TSA
determines that any Document reviewed by TSA is likely to contain Sensitive Security
Information, TSA shall authorize the inclusion in the Reading Room of such Document in
unredacted form unless, with respect to a particular Document or Documents, 1) the Sensitive
Security Information contained therein is not relevant to the above-captioned litigation, 2) the
Parties do not have a substantial need for the Sensitive Security Information contained therein; or
3) TSA determines that the disclosure of the Sensitive Security Information contained therein
under the terms of this Order presents a risk of harm to the nation.

3.5. _ Upon completion of this preliminary review, to the extent that a Document

contains a range of Sensitive Security Information, some of which is appropriate for inclusion in
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the Reading Room and some of which is inappropriate for inclusion in the Reading Room under
the criteria set forth in Section 3.4 of this Order and Section 525(d) of the Act, TSA shall redact
the Sensitive Security Information that is inappropriate for inclusion in the Reading Room. TSA
shall then authorize the inclusion of such Document in the Reading Room only in redacted form.

3.6. To the extent that multiple pages of a Document are redacted, a “slip
sheet” or other similar identifier shall be inserted in the place of the material redacted to
sufficiently identify the material redacted and the basis under this Order for the withholding. To
the extent that a Document is withheld in full from the Reading Room under the criteria set forth
in Section 3.4 of this Order and Section 525(d) of the Act, TSA shall provide the Parties with a
log containing a description of the Document withheld and the basis under this Order for the
withholding.

3.7. To the extent there is a dispute concerning whether redacted or withheld
Sensitive Security Information should be included in the Reading Room under the criteria set
forth in Section 3.4 of this Order and Section 525(d) of the Act, the Parties and TSA shall meet
and confer in an attempt to resolve the dispute consensually. Failing to reach agreement, the
parties or TSA may submit the dispute to this Court for resolution.

3.8. Prior to placement in the Reading Room, the entity responsible for
producing documents for potential inclusion in the Reading Room shall label or stamp any
Reading Room Document with the following language:

SUBJECT TO SENSITIVE SECURITY INFORMATION
PROTECTIVE ORDER
IN RE SEPTEMBER 11 LITIGATION
21 MC 97 (AKH) (S.D.N.Y.)
21 MC 101 (AKH) (S.D.N.Y.)

SENSITIVE SECURITY INFORMATION
WARNING: THIS RECORD MAY CONTAIN SENSITIVE
SECURITY INFORMATION THAT IS CONTROLLED
UNDER 49 CFR PART 1520. NO PART OF THIS RECORD
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MAY BE DISCLOSED TO PERSONS WITHOUT A ‘NEED
TO KNOW,’ AS DEFINED IN 49 CFR PART 1520, EXCEPT
WITH THE WRITTEN PERMISSION OF THE
ADMINISTRATOR OF THE TRANSPORTATION
SECURITY ADMINISTRATION. UNAUTHORIZED
RELEASE MAY RESULT IN CIVIL PENALTY OR OTHER
ACTION.
3.9. Upon request by any Party or on its own initiative, TSA shall review any

Document in the Reading Room to re-assess whether it contains any Sensitive Security
Information. To the extent that TSA determines upon re-review that the Document does not
contain any Sensitive Security Information, TSA shall release the Document from the Reading
Room pursuant to Section 3.3 of this Order; to the extent TSA determines upon re-review that

the Document does contain Sensitive Security Information, TSA shall apply the procedures of
Sections 3.4 through 3.7 of this Order.
Cc, Access to Sensitive Security Information

4, Operation of Reading Room. TSA shall establish procedures governing access
to the Reading Room and may place reasonable and necessary restrictions on the schedule of use
of the Reading Room, but must afford appropriate and adequate access to all Deemed Covered
Persons. TSA shall establish procedures to ensure that the Reading Room will be maintained
and operated in the most efficient manner consistent with providing appropriate and adequate
access, the protection of the Sensitive Security Information, and reasonable limitations of
Government resources.

5. Clearances.

5.1. TSA shail condition its clearance for access to Sensitive Security

Information upon the successful completion of the criminal history records check and terrorist

assessment mandated by Section 525(d) of the Act.
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5.2. Access to the Reading Room and the Sensitive Security Information
contained therein shall be restricted to a subset of Deemed Covered Persons (“Reading Room
Counsel”), consisting of i) one attorney per firm representing a Party participating in this
Litigation, provided that a firm may voluntarily relinquish its clearance allotment and allocate it
to another firm representing a Party in this Litigation at its discretion; and ii) an additional five
attorneys representing Parties in each of the following groups, to be chosen at the discretion of
each such group: the Plaintiffs, the Aviation Defendants, and the Cross-Claim Plaintiffs.

5.3. In addition to the clearances granted to Reading Room Counsel, TSA shall
grant clearances for access to Sensitive Security Information that is authorized for release from
the Reading Room pursuant to Section 7 of this Order to i) an additional attorney per firm
Tepresenting a Party participating in this Litigation; provided that, a firm may voluntarily
relinquish its clearance allotment and allocate it to another firm in this Litigation at its discretion;
ii) a limited number of court reporters employed in connection with this Litigation, provided that
any such court reporter agrees in writing to be bound by the terms of this Protective Order; and
iil) experts retained by a Party participating in this Litigation, provided that any such expert
agrees in writing to be bound by the terms of this Protective Order.

5.4. Should a law firm or legal practice cease representing a Party participating
in this Litigation, for whatever reason, all Deemed Covered Persons employed by such law firm
or legal practice shall no longer be cleared for access to Sensitive Security Information under this
Order. Should an attorney cleared for access to SSI under this Section cease to be employed by a
law firm or legal practice that represents a Party participating in this Litigation, such attorney
will no longer be cleared for access to Sensitive Security Information under this Order; provided,
however, that such law firm or legal practice will not lose their clearance allotment under

Sections 5.2 and 5.3 by virtue of such attorney’s departure.
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5.5. TSA shall make best efforts to complete the clearance process for
attorneys representing Parties participating in this Litigation who seek to become Deemed
Covered Persons within 45 days after such counsel submit the required forms and fingerprint
cards to TSA.

6. Access to Sensitive Security Information in the Reading Room. Only
Reading Room Counsel may have access to Sensitive Security Information that is maintained in
the Reading Room, subject to the following restrictions:

6.1. All Reading Room Documents and all information contained in Reading
Room Documents shal! be presumed to contain Sensitive Security Information unless and until
TSA or a court of competent jurisdiction determines otherwise.

6.2. Access to the Reading Room is limited solely to Reading Room Counsel.

6.3. Except as provided in Sections 7-9 of this Order, Reading Room Counsel
may review or otherwise have access to Sensitive Security Information protected by this Order
only in the Reading Room.

6.4. Except as provided in Sections 7-9 of this Order, Reading Room Counsel
are prohibited from removing any Sensitive Security Information from the Reading Room This
includes, but is not limited to, removing Reading Room Documents or copies of Reading Room
Documents from the Reading Room; removing any notes from the Reading Room created by
Reading Room Counsel that contain Sensitive Security Information; making, transcribing, or
preparing notes, pleadings or Documents containing Sensitive Security Information, in whatever
format, outside the Reading Room; or otherwise reproducing Sensitive Security Information
outside the Reading Room. Notwithstanding the foregoing, notes that generally describe

Reading Room documents and do not contain substantive information from such documents shall
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not be deemed to contain Sensitive Security Information and may be removed from the Reading
Room.

6.5. Except as provided in Sections 7-9 of this Order, Reading Room Counsel
are prohibited from disclosing, in any manner, or otherwise providing access to, Sensitive
Security Information, however obtained, to any individual or entity.

6.6. Except as permitted in Sections 7-9 of this Order, Reading Room Counsel
are prohibited from aiding or assisting any person or entity in disclosing, in any manner, or
otherwise providing access to, Sensitive Security Information.

7, Use of Reading Room Documents.

7.1. Any Party who wishes to use a Reading Room Document, or information
contained in a Reading Room Document, outside the Reading Room for any pretrial purpose
must request a review of such Document from TSA. TSA will then conduct a detailed review of
such Document. If, in conducting this detailed review, TSA determines that the Document
contains no Sensitive Security Information, TSA shall authorize the release of such Document in
unredacted form and such Document may be used and disclosed in any manner consistent with
the disclosure of non-Sensitive Security Information Documents exchanged in discovery in this
Litigation. If, in conducting this detailed review, TSA determines that a Document contains
Sensitive Security Information, and further determines that there is a segregable excerpt of the
Document that does not contain Sensitive Security Information, TSA shall identify the Sensitive
Security Information contained therein and authorize the Document for release from the Reading
Room only with all Sensitive Security Information redacted from the Document.

7.2. A Party may have access to unredacted Reading Room Documents, and
any Sensitive Security Information contained therein, outside the Reading Room (“Restricted

Use Documents”), only upon a showing that the Party has a substantial need for access outside
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the Reading Room to the particular Sensitive Security Information contained within the Reading
Room Document. To the extent there is a dispute concerning whether a Party (or Parties) has a
substantial need for access to particular Sensitive Security Information outside the Reading
Room, the Party (or Parties) and TSA shall meet and confer in an attempt to resolve the dispute
consensually. Failing to reach agreement, the Party (or Parties) or TSA may submit the dispute
to this Court for resolution. No Reading Room Document, or Sensitive Security Information
contained therein, shall be removed from the Reading Room without the prior consent of TSA or
authorization from this Court.

7.3. Access to Restricted Use Documents, and the Sensitive Security
Information contained therein, outside the Reading Room shall be permitted only under the
following conditions:

7.3.1. Restricted Use Documents shall be maintained solely on the
specific electronic media provided by TSA. Moreover, each firm in this Litigation will be
provided with only a single set of the electronic media containing that firm’s requested
Restricted Use Document(s). No copies of the electronic media, nor hard copies of Restricted
Use Document(s), shall be created, except as permitted in Sections 8 and 9 of this Order.

7.3.2. Only Deemed Covered Persons may maintain custody of the
electronic media containing the Restricted Use Document(s), and such Deemed Covered Persons
have a duty to safeguard the electronic media, the Restricted Use Document(s), and the Sensitive
Security Information contained therein, from unauthorized disclosure. When not in the physical
possession of the Deemed Covered Person with custody of the electronic media containing the
Restricted Use Document(s), the electronic media shall be stored by the Deemed Covered Person

in a secured container, such as a locked desk or file cabinet.

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7.3.3. Access to Restricted Use Documents, the Sensitive Security
Information contained therein, or the electronic media containing a Restricted Use Document
shall be restricted to the following persons:

a. Deemed Covered Persons;

b. Persons who currently have authorized access to the Document
and/or the Sensitive Security Information contained therein
pursuant to 49 C.F.R. § 1520.1 et_seq., provided that, before
any Deemed Covered Person provides a person with access to
Sensitive Security Information under this subsection, TSA is
first provided with that person’s name, position and a brief
description of the Sensitive Security Information in question,
and TSA confirms that the person has authorized access to such
Sensitive Security Information;

c. Persons who previously had authorized access to, and
knowledge of, the Document and/or the Sensitive Security
Information contained therein pursuant to 49 C.F.R. § 1520.1
et_seq., provided that, before any Deemed Covered Person
provides a person with access to Sensitive Security Information
under this subsection, TSA is first provided with that person’s
name, position and a brief description of the Sensitive Security
Information in question, and TSA confirms that the person
previously had authorized access to such Sensitive Security
Information; and

d. Designated court personnel.

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7.3.4. A Deemed Covered Person may create Documents containing
Sensitive Security Information found in a Restricted Use Document, provided that any such
Document is secured in the same or equivalent manner, to the same or equivalent extent, and
with the same restrictions on access as the electronic media containing the Restricted Use
Document.

7.3.5. Inthe event that a Deemed Covered Person loses or relinquishes
his or her clearance for access to Sensitive Security Information, for whatever reason, the former
Deemed Covered Person must promptly certify in writing to TSA that all Documents, Restricted
Use Documents or electronic media in his or her custody containing Sensitive Security
Information have either been destroyed or returned to TSA.

8. Depositions and Examinations.

8.1. Information that is found not to contain any Sensitive Security Information
may be used and elicited during the examination of a witness in a manner consistent with
examinations that do not implicate Sensitive Security Information.

8.2. Sensitive Security Information that is authorized for release from the
Reading Room pursuant to Section 7 of this Order may be used and/or elicited during the
examination of a witness, subject to the following restrictions:

8.2.1. Only the individuals identified in Section 7.3.3 of this Order may
be present in the room when such Sensitive Security Information is used and/or elicited.

8.2.2. To the extent that a Deemed Covered Person wishes to use a
Restricted Use Document as an exhibit at a deposition, the Deemed Covered Person may print a
limited number of hard copies of such Restricted Use Document using a secure printer located at
the Deemed Covered Person’s place of employment for use solely as exhibits at the deposition,

provided that at the conclusion of the deposition, the original marked deposition exhibit and all

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hard copies are collected and maintained by a cleared court reporter who has been designated by
the Parties as the custodian of such Documents. The court reporter designated as the custodian
of the Restricted Use Documents shall secure the Restricted Use Documents in the same: manner,
to the same extent, and with the same restrictions on access prescribed in Section 7.3 of this
Order.

8.2.3. Any Party or Parties who take(s) a deposition at which Sensitive
Security Information is used or elicited shall 1) place the unredacted deposition transcript in the
Reading Room; and 2) promptly submit the deposition transcript to TSA for review. TSA shall
redact all Sensitive Security Information from the deposition transcript and authorize the release
of the deposition transcript only in redacted form.

8.2.4. Only the individuals identified in Section 7.3.3 of this Order may
have access to the unredacted deposition transcript outside the Reading Room. The unredacted
deposition transcript shall be secured in the same manner, to the same extent, and with the same
restrictions on access as Restricted Use Documents, as set forth in Section 7.3 of this Order.

8.3. Sensitive Security Information that is not authorized for release from the
Reading Room pursuant to Section 7 of this Order may not be used or elicited during the
examination of a witness. The Parties are prohibited from attempting to use or elicit during the
examination of a witness Sensitive Security Information that the Parties know or reasonably
should know has not been authorized for release from the Reading Room pursuant to Séction 7
of this Order.

8.4. All deposition transcripts in this Litigation that may potentially contain
Sensitive Security Information must be reviewed by TSA before such deposition transcripts may
be released to any individual, including but not limited to the deponent and the Parties. To the

extent that TSA determines, upon review of the deposition transcript, that the transcript contains

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Sensitive Security Information that has not been authorized for release from the Reading Room
pursuant to Section 7 of this Order, TSA shall authorize the transcript for release only with all
such Sensitive Security Information redacted from the transcript.

9. Motions and Pretrial Court Proceedings,

9.1. Any Party who wishes to use a Restricted Use Document or the Sensitive
Security Information contained therein in connection with a pretrial motion or other submission
to this Court must file the Restricted Use Document and any pleadings, motions or other papers
containing Sensitive Security Information under seal. Where possible, only the portions of the
filings that contain Sensitive Security Information shall be filed under seal.

10. Unauthorized Disclosures.

10.1. IfSensitive Security Information is disclosed other than as authorized by
this Order, the Party or person responsible for the unauthorized disclosure, and any other Party,
person, firm or entity who is subject to this Order and learns of the unauthorized disclosure, shall
immediately bring such disclosure to the attention of the Court and TSA.

10.2. The Party or person responsible for the unauthorized disclosure shall make
every effort to obtain the return of the Sensitive Security Information (including, without
limitation, from the person to whom the unauthorized disclosure was made and from any other
person to whom Sensitive Security Information was transmitted as a direct or indirect result of
the unauthorized disclosure) and to prevent further disclosure on its own part or on the part of
any person to whom the unauthorized disclosure was made.

10.3. In addition to any other remedies that are available under law, ariy Party,
person, firm or entity responsible for an unauthorized disclosure of Sensitive Security
Information protected by this Order may be subject to a civil penalty of up to $50,000, and all

other remedies provided under 49 C.F.R. § 1520.17.

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10.4. In the event that TSA determines that a Deemed Covered Person has
intentionally, willfully or recklessly disclosed Sensitive Security Information in violation of this
Order, TSA may, in the exercise of its sole discretion, revoke such Deemed Covered Person’s
clearance for access to Sensitive Security Information. Furthermore, TSA may consider:such
intentional, willful or reckless disclosure in determining whether granting access to Sensitive
Security Information to any member of a firm or entity that employed such Deemed Covered
Person, and/or to the Party whom that Deemed Covered Person represents in this Litigation, if
applicable, would present a risk of harm to the nation pursuant to Section 525(d) of the Act.

10.5. TSA reserves the right to revoke a Deemed Covered Person’s clearance in
the event TSA obtains information that leads TSA to determine that granting such Deemed
Covered Person access to Sensitive Security Information presents a risk of harm to the nation.
D. Reservation of Rights

11. In the event that TSA determines that a Document containing Sensitive Security
Information, or portion thereof, was inappropriately made available to the Parties in the: Reading
Room or otherwise, TSA reserves the right to remove the Document, or portion thereof, from the
Reading Room, and to take any other measures necessary to protect the Sensitive Security
Information at issue.

12. Nothing in this Order shall constitute an agreement by or among the Parties as to
the appropriateness of TSA’s designation of any information as Sensitive Security Information,
or this Court’s jurisdiction to adjudicate any challenge respecting TSA’s designation of
information as Sensitive Security Information, nor shall anything contained herein be deemed to
prejudice TSA’s right to argue that this Court lacks jurisdiction to adjudicate any challenge
respecting TSA’s designation of information as Sensitive Security Information. Notwithstanding

the foregoing, TSA represents that it will make Sensitive Security Information designations in

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accordance with section VI(E) of Department of Homeland Security Management Directive
11056.1, which has been amended in accordance with Section 525(a) of the Act.

13. Nothing in this Order shall constitute an agreement by or among the Parties or
TSA, or aruling by this Court, as to the relevance to this Litigation of any information produced
in discovery or the Parties’ substantial need for such information, nor shall anything in this Order
constitute an agreement by or among the Parties or TSA, or a ruling by this Court, as to TSA’s
right under the Act to make determinations with respect to the relevance to this Litigation of any
information produced in discovery or the Parties’ substantial need for such information.

14. Nothing contained herein alters or affects in any manner a covered person’s
obligations and duties as set forth in 49 C.F.R. Part 1520.

15. | Nothing contained herein shall be deemed an admission by TSA or any Party as to
the proper interpretation of Section 525(d) of the Act, nor shall anything contained herein
prejudice the right of TSA or any Party to make any argument, in this Litigation or in atly other
forum, with respect to the interpretation of Section 525(d) of the Act.

16. The terms and conditions of this Order are intended to apply only during the
pretrial phase of this Litigation. Nothing contained herein shall be deemed an agreement by the
Parties or TSA as to the handling of, or access to, Sensitive Security Information during any
potential trial that may be held in this Litigation, nor shall anything contained herein préjudice
the right of the Parties or TSA to make any argument with respect to the handling of, of access
to, Sensitive Security Information during any potential trial that may be held in this Litigation.

17. This Order may be modified by this Court upon application to the Court by any

Party or TSA and upon a showing of good cause.

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Dated: New York, New York
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United States District Judge

 

 

 

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